            Case 3:23-cv-06241-LJC           Document 41      Filed 06/10/25      Page 1 of 3




 1 CRAIG H. MISSAKIAN (CABN 125202)
   United States Attorney
 2 PAMELA T. JOHANN (CABN 145558)
   Chief, Civil Division
 3
   ANDREW MAINARDI (CABN 338085)
 4 Assistant United States Attorney

 5          1301 Clay Street, Suite 340S
            Oakland, CA 94612
 6          Telephone: (510) 788-3509
            Facsimile: (510) 637-3724
 7
            andrew.mainardi@usdoj.gov
 8
     Attorneys for Defendants
 9

10                                   UNITED STATES DISTRICT COURT
11                                 NORTHERN DISTRICT OF CALIFORNIA
12                                         SAN FRANCISCO DIVISION
13
     JEWISH LEGAL NEWS, INC.,             ) No. 3:23-cv-06241-LJC
14                                        )Plaintiff,
                                          ) STIPULATION VACATING MOTION
15      v.                                ) HEARING; [Proposed] ORDER
                                          )
16   U.S. CUSTOMS AND BORDER              )
     PROTECTION AND U.S. IMMIGRATION      ) Current Motion Hearing Date/Time
17                                        )
     AND CUSTOMS ENFORCEMENT,
                                          ) July 23, 2025 at 9:30 a.m.
18
                              Defendants. )
                                          )
19                                        )
                                          )
20                                        )
21 Plaintiff and Defendant, by their attorneys of record (“The Parties”), hereby stipulate as follows:

22          WHEREAS, This Court set a Vaughn index exchange and schedule for the parties to meet and
23 confer and a briefing schedule for cross motions for summary judgment regarding Plaintiff’s challenges

24 to Defendants’ withholdings of certain information from their production documents in this FOIA

25 matter. Dkts. 35-39;

26          WHEREAS, after several meet and confers, Plaintiff withdraws its challenges to Defendants’
27 withholdings in the document production and does not challenge the scope of the production;

28
     STIPULATION; [Proposed] ORDER
     Case No.: 3:23-cv-06241-LJC
             Case 3:23-cv-06241-LJC          Document 41        Filed 06/10/25       Page 2 of 3




 1          WHEREAS, because the existing briefing schedule is therefore moot and the only remaining

 2 issues pertain to Plaintiff’s entitlement to and eligibility for reasonable costs and fees;

 3          THE PARTIES HEREBY STIPULATE AND REQUEST, pursuant to Civil Local Rule 6-1(b),

 4 that the hearing currently scheduled for July 23, 2025 at 9:30 a.m. be vacated.

 5
                                                           Respectfully submitted,
 6

 7 DATED: June 10, 2025                                    JAVITCH LAW OFFICE

 8                                                           /s/ Mark L. Javitch
                                                           MARK L. JAVITCH
 9
                                                           Attorney for Plaintiff
10

11

12
     DATED: June 10, 2025                                  CRAIG H. MISSAKIAN
13                                                         United States Attorney
14                                                            /s/ Andrew Mainardi*
                                                           BY: ANDREW MAINARDI
15                                                         Assistant United States Attorney
                                                           Attorneys for Defendants
16

17

18
   *In compliance with Civil Local Rule 5-1(i)(3), the filer of this document attests under penalty of perjury
19 that counsel for Plaintiff has concurred in the filing of this document.

20

21

22

23

24

25

26

27

28
     STIPULATION; [Proposed] ORDER
     Case No.: 3:23-cv-06241-LJC
           Case 3:23-cv-06241-LJC         Document 41        Filed 06/10/25     Page 3 of 3




 1                                          [PROPOSED] ORDER

 2

 3         Pursuant to the above stipulation, the hearing on the Parties’ motions scheduled for July 23, 2025

 4 9:30 a.m. is hereby vacated

 5         IT IS SO ORDERED.

 6

 7         Dated: June 10, 2025                         _____________________________
 8                                                      Hon. Lisa J. Cisneros
 9

10

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26

27

28
     STIPULATION; [Proposed] ORDER
     Case No.: 3:23-cv-06241-LJC
